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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DISPLAY TECHNOLOGIES, LLC,                        )
                                                  )
               Plaintiff,                         )   Case No. 1:21-cv-04783
                                                  )
       vs.                                        )   Honorable Franklin U. Valderrama
                                                  )
OMRON HEALTHCARE, INC.                            )
                                                  )
               Defendant.                         )
                                                  )


             UNOPPOSED SECOND MOTION FOR EXTENSION OF TIME
              TO ANSWER OR OTHERWISE PLEAD TO COMPLAINT

       Pursuant to FRCP 6(b), Defendant, Omron Healthcare, Inc. (“Defendant” or “Omron”),

respectfully moves for entry of an order extending by a further thirty (30) days the deadline for

Defendant to answer or otherwise plead to Plaintiff Display Technologies, LLC’s (“Plaintiff” or

“Display Technologies”) Complaint. Dkt. 1. In support of this Motion, Defendant states as

follows:

       1.      Plaintiff initiated this lawsuit on September 9, 2021 and served Defendant on

November 5, 2021.

       2.      Defendant filed an unopposed motion for extension of time on

November 24, 2021, which was granted by the Court. Dkt. 9. The Defendant’s deadline for

responding to the Complaint was extended to December 27, 2021.

       3.      The Parties will benefit from the additional time to facilitate discussions

concerning potential resolution after the close of the upcoming holidays.

       4.      This case is in its initial stages. No Party will be prejudiced by the proposed

extension, and the proposed extension will not create undue delay in the proceedings. Further, no
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schedule has yet been set in this matter, and the requested extension will not adversely impact

the scheduling of this case.

       5.      Counsel for Plaintiff indicated they did not oppose this motion. Good cause exists

for the requested extension, and it is not improperly sought for purposes of delay.

       WHEREFORE, Defendant requests that the Court extend the time Defendant has to

respond to the Complaint by 30 days, setting the response deadline for January 26, 2022.

                                                     Respectfully submitted,

Dated: December 21, 2021                         By: /s/ John J. Lucas
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                                                     John J. Lucas
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                                                      Omron Healthcare, Inc.




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